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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                           :            CHAPTER 7
                                                 :
RUDOLF CALOIAN,                                  :            CASE NO. 18-59880-SMS
                                                 :
         Debtor.                                 :
                                                 :


  MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT UNDER RULE 9019 OF
           THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         COMES NOW S. Gregory Hays, as Chapter 7 Trustee (the “Trustee”) for the bankruptcy

estate (the “Estate” or “Bankruptcy Estate”) of Rudolf Caloian (“Mr. Caloian”), and, pursuant to

Rule 9019 of the Federal Rules of Bankruptcy Procedure, files this Motion for Approval of

Settlement Agreement under Rule 9019 of the Federal Rules of Bankruptcy Procedure (the

“Motion”), and respectfully shows this Court the following:

                                    Jurisdiction and Venue

       1.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a

core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A) and (O). Venue is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).

                                          Background

       2.    On June 13, 2018 (the “Petition Date”), Mr. Caloian filed a voluntary petition for

relief under Chapter 7 of Title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as

amended, modified, or supplemented, “Bankruptcy Code”) in the United States Bankruptcy

Court for the Northern District of Georgia, Atlanta Division (“Bankruptcy Court”), initiating

Chapter 7 Case No. 18-59880-SMS (the “Bankruptcy Case”).




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       3.    Trustee was thereafter appointed the duly acting Chapter 7 trustee in the Bankruptcy

Case, and he remains in this role.

       4.    Mr. Caloian and Maria Caloian (“Mrs. Caloian” and together, the “Caloians”) are

divorced but living together.

       5.    On the Petition Date, Mr. Caloian was the owner of record of that certain real

property with a common address of 2081 Wildcat Cliffs Lane, Lawrenceville, GA 30043 (the

“Property”).

       6.    Mr. Caloian’s interest in the Property (the “Interest”) is property of the Bankruptcy

Estate. See 11 U.S.C. §§ 348 and 541 (2018).

       7.    On his Schedule D: Creditors Who Have Claims Secured by Property [Doc. No. 1,

page 24 of 56], Mr. Caloian scheduled one (1) claim on or against the Property in favor of

PennyMac Loan Services, LLC (“PennyMac”) in the amount of $139,700.00. Mr. Caloian has

continued to make payments on his mortgage, and the estimated payoff amount is now

approximately $138,000.00 (the “Mortgage”).

       8.    On his Schedule C: The Property You Claim as Exempt [Doc. 1, page 22 of 56], Mr.

Caloian claimed $21,500.00 of the value of the Property as exempt pursuant to O.C.G.A. § 44-

13-100(a)(1) (the “Exemption”).

       9.    As part of his investigation of property of the Bankruptcy Estate, and based on a real

estate broker’s comparative marketing analysis, Trustee estimates that the Property would

support a listing price of approximately $275,000.00.

       10.   The Caloians dispute this valuation and would like to purchase the Interest from the

Bankruptcy Estate (the “Transfer Dispute”) rather than Trustee’s selling it.




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       11.   Following negotiations, Trustee and the Caloians (collectively, the “Parties”) have

reached an agreement to transfer the Interest to the Caloians by Trustee’s abandoning it back to

Mr. Caloian following the payment of a sum certain by the Caloians.

                                     The Proposed Settlement

       12.   Subject to approval by the Court under Rule 9019 of the Federal Rules of Bankruptcy
                       1
Procedure, the Parties have entered into a settlement agreement (the “Settlement Agreement”) to

resolve the claims and disputes between them as follows:2

             a. The Caloians shall pay $75,000.00 (the “$75,000.00 Settlement Funds”) in good
                funds to Trustee in exchange for Trustee’s abandoning the Interest to Mr. Caloian.

             b. The Interest of the Bankruptcy Estate in and to the Property shall be deemed
                abandoned upon the later of: (a) Trustee’s receipt in full of the $75,000.00
                Settlement Funds from the Caloians in good funds; or (b) the Settlement Approval
                Order becoming final.

             c. The Caloians are required to maintain and insure the Property and pay their
                Mortgage Payments until the later of: : (a) Trustee’s receipt in full of the
                $75,000.00 Settlement Funds from the Caloians in good funds; or (b) the
                Settlement Approval Order becoming final.


       13.      Attached hereto and incorporated herein by reference as Exhibit “A” is a copy of

the proposed Settlement Agreement.

                                         Relief Requested

       14.      Trustee requests an order from the Court approving the Settlement Agreement.




1       Capitalized terms used herein, but not otherwise defined shall have the meanings ascribed
in the Settlement Agreement.

2      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.
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                                     Basis for Relief Requested

       15.       Rule 9019(a) of the Bankruptcy Rules provides, in pertinent part: “On motion by

the trustee and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019.

       16.     The standard in the Eleventh Circuit for determining whether to approve a

compromise or settlement pursuant to Rule 9019(a) is articulated in Wallis v. Justice Oaks II,

Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990):

        When a bankruptcy court decides whether to approve or disapprove a proposed
        settlement, it must consider:

                 (a) The probability of success in the litigation; (b) the difficulties,
                 if any, to be encountered in the matter of collection; (c) the
                 complexity of the litigation involved, and the expense,
                 inconvenience and delay necessarily attending it; (d) the
                 paramount interest of the creditors and a proper deference to their
                 reasonable views in the premises.

Id. at 1549.

       17.       The proposed settlement between the Parties is the product of arms’ length

negotiations and reflects the Parties’ analysis and consideration of the relevant legal, factual, and

economic issues.

       18.       The proposed settlement will allow Trustee to make a meaningful distribution to

the holders of timely filed general unsecured claims in this Bankruptcy Case and avoid the costs

and risks of marketing and selling the Property through a licensed real estate broker (and also

allow the Caloians to keep their primary residence).

       19.     Under the standard set forth above and for the reasons previously detailed in this

Settlement Motion, Trustee urges that this Court approve the Settlement Agreement.




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        WHEREFORE, having filed the Motion, Trustee prays that the Court grant the Motion,

approve the Settlement Agreement, and grant Trustee such other and further relief as it deems just

and proper.

        Respectfully submitted this 24th day of March, 2021.

                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Trustee

                                             By:/s/ Michael J. Bargar
                                                 Michael J. Bargar
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                                             Arnall Golden Gregory, LLP
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                             EXHIBIT “A” FOLLOWS




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                                   CERTIFICATE OF SERVICE

        This is to certify that I have this day served copy of the Motion for Approval of Settlement

Agreement under Rule 9019 of the Federal Rules of Bankruptcy Procedure via electronic mail or by

depositing in the United States mail a copy of same in a properly addressed envelope with adequate

postage affixed thereon to assure delivery to:

Office of the U.S. Trustee
362 Richard B. Russell Federal Building
75 Ted Turner Drive, SW
Atlanta, Georgia 30303

S. Gregory Hays
Chapter 7 Trustee
Hays Financial Consulting, LLC
Suite 555
2964 Peachtree Road
Atlanta, GA 30305

Alaina Joseph
King & King Law, LLC
215 Pryor Street, S.W.
Atlanta, GA 30303

Rudolf Caloian
2081 Wildcat Cliffs Lane
Lawrenceville, GA 30043

Tim Hurban
King & King Law, LLC
215 Pryor Street, S.W.
Atlanta, GA 30303


               This 24th day of March, 2021.

                                                     /s/ Michael J. Bargar
                                                     Michael J. Bargar
                                                     Georgia Bar No. 645709




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